Case 2:04-CV-02860-SHI\/|-tmp Document 9 Filed 05/25/05 Page 1 of 2 Page|D 14

 

 

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iN THE UNITED sTATEs DISTRICT COURT L’ 1 ‘- ~ ~ U-"J-
FOR THE WESTERN DIsTRICT OF TENNESSEE 05 f._,h,, .J §§ m ,_
WESTERN DIVISION "“ ~~ t d» 3|
LEBORA MABRY,
Plaimiff,
vs. NO. 04-2360-Ma/P

MEMPHIS MENTAL HEALTH HOSPITAL,

Defendant.

 

ORDER OF DISMISSAL

 

The parties have submitted a Stipulation of Disrnissa] With Prejudice in this matter

indicating that this matter may be dismissed.

IT IS THEREFORE ORDERED that this case is DISMISSED with prejudice, the

defendant to bear court costs.

Entered this qJ'u¢`day of May, 2005.

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SAMUEL H. MAYS, IR.
UNITED STATES DISTRICT JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 9 in
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Zachary S. Grifflth

OFFICE OF THE ATTORNEY GENERAL
P.O. Box 20207

Nashville, TN 37202--020

Lebora Mabry
3210 East Harnester Lane
Memphis7 TN 38127

Honorable Samuel Mays
US DISTRICT COURT

